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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

 MARÍA ROSAIRI GONZÁLEZ MUÑIZ,
 individually and on behalf of her minor
 children, X.J.R.G. and D.Y.R.G., and JOHAN CIVIL CASE NO.: 21-1157
 TORRES FERNÁNDEZ,

                       Plaintiffs,                      PLAINTIFFS DEMAND
                                                        TRIAL BY JURY
                           v.

 CHUBB INSURANCE COMPANY OF
 PUERTO RICO; PUERTO RICO ELECTRIC
 POWER     AUTHORITY;        UNKNOWN
 DEFENDANTS 1, 2, 3 and 4; INSURANCE
 COMPANIES A, B, C and D; REINSURANCE
 COMPANIES E, F, G and H,.,

                      Defendants.


                     NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

TO THE HONORABLE DISTRICT COURT:

        Notice is hereby given of the entry of the undersigned, Juan M. Martínez-Nevárez, as counsel for

Puerto Rico Electric Power Authority (PREPA). The aforenamed counsel requests that all notice given or

required to be given in this case be served upon her.

        RESPECTFULLY SUBMITTED

        In San Juan, Puerto Rico, this 27th day of November, 2023.

        IT IS HEREBY CERTIFIED that, on this same date, the foregoing document has been
electronically filed with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to all attorneys of record.

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                                                  S/JUAN M MARTĺNEZ NEVÁREZ
                                                  JUAN M MARTĺNEZ NEVÁREZ
                                                  USDC-PR 22110
